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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION


CYNTHIA BENNETT,                              )
                                              )
        Plaintiff,                            )       CIVIL ACTION NO.
                                              )
v.                                            )
                                              )
BRICKLES CLEANERS, INC.,                      )
                                              )
        Defendant.                            )       JURY TRIAL DEMANDED



                                           COMPLAINT
        This is an action under Title VII of the Civil Rights Act of 1964, as amended (“Title

VII”), the Age Discrimination in Employment Act of 1967, as amended (“ADEA”), and Title I

of the Civil Rights Act of 1991, to correct unlawful employment practices on the basis of age and

disability and provide appropriate relief to Cynthia Bennett (“Bennett”) who was adversely

affected by such practices. Plaintiff alleges that on or about June 12, 2019, Brickles Cleaners, Inc

(“Defendant”) violated the ADEA and the ADA when it unlawfully discharged Bennett from

employment due to her age (68) and her disability (surgery on her knee and resulting

restrictions).

                                 JURISDICTION AND VENUE

        1.       Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Section 706(f) of Title VII of

the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-5-(f)(1) and (3) (“Title VII”) and

pursuant to Section 10 of the Civil Rights Act of 1991, 42 U.S.C. §1981a, Section 7(b) of the

Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §66(b) (the “ADEA”),
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which incorporates by reference Section 16(c) and Section 17 of the Fair Labor Standards Act of

1938 (the “FLSA”), as amended, 29 U.S.C. §§216(c) and 217.

       2.      The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Southern District of Georgia, Augusta

Division.

                                            PARTIES

       3.      Plaintiff, Cynthia Bennett is a resident of Richmond County, Augusta, Georgia

       4.      Defendant, Brickles Cleaners is a Georgia domestic profit corporation with

principal office and registered agent, Wiley Brickle, addressed at 4296 Washington Road, Evans,

Columbia County, GA 30809.

       5.      At all relevant times, Defendant Brickles Cleaners, Inc. has continuously been

doing business in the State of Georgia and the City of Augusta and has continuously had at least

fifteen (15) employees.

       6.      At all relevant times, Defendant Brickles Cleaners Inc. has continuously been an

employer and engage in an industry affecting commerce under Section 701(b), (g) and (h) of

Title CII, 4 U.S.C. §2000e(b), (g), and (h) and Sections 11(b), (g) and (h) of he DEA, 9 U.S..

§§64(b), (g) and (h).

                             ADMINISTRATIVE PROCEDURES

       7.      More than 30 days prior to the institution of this lawsuit, Cynthia Bennett filed a

charge with the Equal Employment Opportunity Commission (the “Commission”) alleging

violations of Title VII and ADEA by Defendant.
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       8.      On April 19, 2021, the Commission issued to Defendant (and Plaintiff) a Letter of

Determination finding reasonable cause to believe that Title CII and the ADEA were violated

and inviting Defendant to join with the Commission in informal methods of conciliation to

endeavor to eliminate the unlawful employment practices and provide appropriate relief.

(attached as Plaintiff’s Exhibit A). Defendant refused the invitation

                                     STATEMENT OF CLAIM

       9.      Plaintiff began working for the Defendant in 1995 as a clerk in the Defendant’s

dry-cleaning store located on Walton Way, Augusta, GA.

       10.     After having worked for the company for over twenty (20) years, Plaintiff needed

to take medical leave for a necessary knee surgery in June 2018.

       11.     Upon return from her surgery, Plaintiff was repeatedly asked by Defendant’s

representatives “when” she was going “to retire”.

       12.     Having only made $8-10/hour for the duration of her employment, Plaintiff

advised Defendant that she had no plans to retire at present but would reconsider retiring when

she turned seventy (70) years old.

       13.     Plaintiff was able to perform all of her duties and responsibilities after surgery

and requested merely to be able to sit whenever possible.

       14.     Following Plaintiff’s surgery, Defendant reduced Plaintiff’s hours of employment,

and began pressuring Plaintiff to reduce her hours even more.

       15.     Plaintiff explained to Defendant’s representative that she could not survive

financially on fewer hours.

       16.     On June 12, 2019 Defendant terminated Plaintiff.
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        17.    Within days of Plaintiff’s termination, Defendant hire a substantially younger

individual to replace Plaintiff, and another within three (3) months in the same position as

Plaintiff.

        18.    The Commission found that Defendant’s preferred non-discriminatory reason for

terminating Plaintiffs employment did not withstand scrutiny and was a pretext for unlawful age

discrimination and unlawful disability discrimination.

        19.    The effect of the unlawful employment practices complaint of above have been to

deprive Plaintiff, Cynthia Bennett, of equal employment opportunities and otherwise adversely

affect her status as employee, because of her age and disability.

        20.    The unlawful employment practices complained of above were intentional.

        21.    The unlawful employment practice complaint of above were carried out with

malice and/or reckless indifference to the federally protected rights of the Plaintiff, Cynthia

Bennett.

                                     PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff respectfully requests that this Court:

        A.      Order Defendant to make Cynthia Bennett whole by providing appropriate back

pay with prejudgment interest, in amounts to be determined at trial, and other affirmative relief

necessary to eradicate the effects of its unlawful employment practiced including but not limited

to reinstatement.

        B.     Order Defendant to make Plaintiff Cynthia Bennett whole by providing

compensation for past and future pecuniary losses resulting from the unlawful employment

practices described above, in amounts to be determined at trial.
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       C.      Order Defendant to make Plaintiff Cynthia Bennett whole by providing

compensation for past and future nonpecuniary losses resulting from the unlawful practices

described above including but not limited to damages from emotional pain and suffering,

anxiety, stress, depression and humiliation in amounts to be determined at trial.

       D.      Order Defendant to Plaintiff Cynthia Bennett liquidated and/or punitive damages

for its malicious and reckless conduct as described above, in amounts to be determined at trial.

       E.      Grant a permanent injunction enjoining the Defendant, its offices, agents,

servants, employees, attorney and all persons in active concert or participation with it, from

denying employment opportunities to individuals over 40 years of age or older, or engaging in an

y employment practice that discriminates on the basis of disability.

       F.      Order Defendant to institute and carry our policies, practices and programs which

provide equal employment opportunities to individuals over 40 years of age or older and those

suffering from disabilities and eradicate the effects of its past and present unlawful employment

practices.

       G.      Grant such further relief as the Court deems necessary and proper,

       H.      Award Plaintiff attorney’s fees and costs in this action.
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                                    JURY TRIAL DEMAND

       Plaintiff requests a jury trial on all questions of fact raised by this Complaint.




Respectfully submitted,

                                                      ____/s/ Edward J. Tarver______
                                                      Edward J. Tarver
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                                                      Attorney for Plaintiff

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